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 SECTION III - DESIGNATION OF LOCAL COUNSEL
 Aron, William M.
 Designee's Name (Last Name, First Name & Middle Initial)
 ARON Law Firm
 Firm/Agency Name
 15 West Carillo Street                                            (805) 618-1768
 Ste.217                                                           Telephone Number                     Fax Number
 Street Address                                                   bill@aronlawfirm.com
 Santa Barbara, CA 93101                                          Email Address
 City, State, Zip Code                                            SBN No. 234408
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated 4/11/2025                                    William M. Aron



                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Additional Court Admissions (all in good standing)
  State of New York
  The District of Columbia (inactive)

  U.S. District Court for the Northern District of Illinois
  U.S. District Court for the District of Colorado
  U.S. District Court for the Northern District of Florida
  U.S. District Court for the Southern District of Florida
  U.S. District Court for the Middle District of Florida
  U.S. District Court for the District of New Jersey
  U.S. Court of Appeals for the Ninth Circuit
  U.S. Court of Appeals for the Tenth Circuit
  U.S. Court of Appeals for the Eleventh Circuit
  U.S. Supreme Court




G-64 (10/23)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 of3
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                                     The Florida Bar
                                          651 East Jefferson Street
                                         Tallahassee, FL 32399-2300
    Joshua E. Doyle                                                                 850/561-5600
   Executive Director                                                           www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                      In Re: 0101934
                                                      Bogdan Enica
                                                      Keith Gibson Law
                                                      1200 N Federal Hwy Ste 300
                                                      Boca Raton, FL 33432-2846
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on January 30, 2013.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 8th day of April, 2025.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-338497
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             On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                             the District of Columbia Bar does hereby certify that



                                       Bogdan Enica
           was duly qualified and admitted on August 11, 2014 as an attorney and counselor entitled to
           practice before this Court; and is, on the date indicated below, an Inactive member in good
                                                standing of this Bar.




                                                                                 In Testimony Whereof,
                                                                             I have hereunto subscribed my
                                                                            name and affixed the seal of this
                                                                                   Court at the City of
                                                                           Washington, D.C., on April 08, 2025.




                                                                                  JULIO A. CASTILLO
                                                                                   Clerk of the Court




                                                              Issued By:


                                                                               David Chu - Director, Membership
                                                                              District of Columbia Bar Membership




      For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                          memberservices@dcbar.org.
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     Supreme Court of New Jersey



         Certificate of Good Standing
        This is to certify that                      BOGDAN ENICA
 (No.      012602012         ) was constituted and appointed an Attorney at Law of New
 Jersey on                           December 04, 2012                      and, as such,
 has been admitted to practice before the Supreme Court and all other courts of this State
 as an Attorney at Law, according to its laws, rules, and customs.

        I further certify that as of this date, the above-named is an Attorney at Law in
 Good Standing. For the purpose of this Certificate, an attorney is in “Good Standing” if
 the Court’s records reflect that the attorney: 1) is current with all assessments imposed as a
 part of the filing of the annual Attorney Registration Statement, including, but not
 limited to, all obligations to the New Jersey Lawyers’ Fund for Client Protection; 2) is not
 suspended or disbarred from the practice of law; 3) has not resigned from the Bar of this
 State; and 4) has not been transferred to Disability Inactive status pursuant to Rule 1:20-
 12.

        Please note that this Certificate does not constitute confirmation of an attorney’s
 satisfaction of the administrative requirements of Rule 1:21-1(a) for eligibility to practice
 law in this State.
                                                    In testimony whereof, I have
                                                    hereunto set my hand and
                                                    affixed the Seal of the
                                                    Supreme Court, at Trenton, this
                                                    8th day of April, 2025.



                                                             Clerk of the Supreme Court
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              Appellate Division of the Supreme Court
                       of the State of New York
                      Third Judicial Department


        I, Robert D. Mayberger, Clerk of the Appellate Division of
  the Supreme Court of the State of New York, Third Judicial
  Department, do hereby certify that

                             Bogdan Enica
  was duly licensed and admitted to practice as an Attorney and
  Counselor at Law in all the courts of this State on June 26, 2019,
  has duly taken and subscribed the oath of office prescribed by law,
  has been enrolled in the Roll of Attorneys and Counselors at Law
  on file in this office, is duly registered with the Office of Court
  Administration, and       according to the records of this Court is
  currently in good standing as an Attorney and Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of Albany on April
                               8, 2025.




                                    Clerk of the Court


  CertID-00224813
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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                               AD3AdmissionsOffice@nycourts.gov
Robert D. Mayberger                                                              Anthony A. Moore
                            http://www.nycourts.gov/ad3/admissions
 Clerk of the Court                                                             Director of Attorney
                                        (518) 471-4778
                                                                                    Admissions




     To Whom It May Concern:


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court


     Revised January 2022
